        Case 1:21-cv-00094-RJL           Document 36        Filed 02/19/21     Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CATHOLIC LEGAL IMMIGRATION
 NETWORK, INC., et al.,

                Plaintiffs,

         v.                                                  Case No. 21-cv-094

 EXECUTIVE OFFICE OF IMMIGRATION
 REVIEW, et al.,                                            Document Electronically Filed

                Defendants.


 CONSENT MOTION FOR LEAVE TO FILE REPLY BRIEF AND SUPPLEMENTAL
                        DECLARATION

       Pursuant to Civil Local Rule 65.1(c), Plaintiffs Catholic Legal Immigration Network, Inc.,

Brooklyn Defender Services, Florence Immigrant and Refugee Rights Project, HIAS, and National

Immigrant Justice Center (“NIJC”), by counsel, hereby move the Court for leave to: (1) file the

attached reply memorandum of law, attached as Exhibit A, in response to Defendants’ opposition

to Plaintiffs’ motion to stay agency action under 5 U.S.C. § 705 and/or for a preliminary injunction,

ECF No. 35; (2) file a memorandum in excess of the 25 pages generally permitted for reply briefs

under Civil Local Rule 7(e); and (3) file a supplemental declaration from Plaintiff NIJC in support

of the reply brief, attached as Exhibit B. The length of the proposed reply brief will not exceed

thirty (30) pages, excluding caption and signatures.

       Defendants consent to Plaintiffs’ request for leave to file a reply brief and supplemental

declaration, as well as Plaintiffs’ request for a five-page extension.

       Plaintiffs filed a motion to stay agency action under 5 U.S.C. § 705 and/or for a preliminary

injunction on February 1, 2021. ECF No. 9. Per Civil Local Rule 65.1, Defendants’ memorandum


                                                  1
        Case 1:21-cv-00094-RJL           Document 36        Filed 02/19/21       Page 2 of 3




in opposition to Plaintiffs’ motion was due 7 days later, on February 8, 2021, but Defendants

received leave to file instead on February 16, 2021. Defendants also moved to file an oversized

brief in support of their position, to which Plaintiffs consented. ECF No. 31. Just as Defendants

required additional space to address the complexity of this case, Plaintiffs seek leave to file a reply

brief including with additional pages to ensure sufficient opportunity to respond to Defendants’

arguments, which address not only the merits of Plaintiffs’ claims but also raise a number of

justiciability arguments.

       The recent flurry of APA litigation on similar immigration rulemaking in this Circuit, as

well as at the Supreme Court, provides more evidence of how complex and contested the

arguments are in this case. See, e.g., Dep’t of Homeland Sec. v. Regents of the Univ. of California,

140 S. Ct. 1891, 1907 (2020); Make the Road New York v. Wolf, 962 F. 3d 612, 623 (D.C. Cir.

2020); Grace v. Barr, 965 F. 3d 883, 896 (D.C. Cir. 2020); CLINIC v. EOIR, No. 20-cv-03812

(APM), 2021 WL 184359, at *7 (D.D.C. Jan. 18, 2021). Plaintiffs have made every effort to write

a succinct reply, but require more than the standard length to meaningfully respond to Defendants’

arguments. For similar reasons, the evolving circumstances around the impact of this Rule require

submission of additional evidence to provide further details about Plaintiffs’ irreparable harm

stemming from the Rule, including recent developments, as well as supplement the record to

respond to the arguments Defendants raised in their opposition brief.

       For these reasons, Plaintiffs respectfully request that the court grant this motion and accept

submission of the attached memorandum of law, as well as NIJC’s Supplemental Declaration. See

Exs. A, B. Per Civil Local Rule 7(c), a proposed order is attached as Exhibit C. As stated above,

the parties have met and conferred and fulfilled the requirements of Local Civil Rule 7(m), and

Defendants consent to Plaintiffs’ requests.



                                                  2
      Case 1:21-cv-00094-RJL     Document 36        Filed 02/19/21      Page 3 of 3




Dated: February 19, 2021                      Respectfully submitted,

                                       By: s/ Jeffrey Dubner

Mary Van Houten Harper (D.C. Bar No.         Jeffrey Dubner (D.C. Bar No. 1013399)
1045137)*                                    Benjamin Seel (D.C. Bar No. 1035286)
NATIONAL IMMIGRANT JUSTICE CENTER            Sean A. Lev (D.C. Bar. No. 449936)
1099 New York Ave. NW                        DEMOCRACY FORWARD FOUNDATION
Washington, DC 20001                         P.O. Box 34553
(312) 660-1370                               Washington, DC 20043
mharper@heartlandalliance.org                (202) 448-9090
                                             jdubner@democracyforward.org
Sarah Thompson (D.D.C. Bar No.               bseel@democracyforward.org
CA00073)                                     slev@democracyforward.org
NATIONAL IMMIGRANT JUSTICE CENTER
PO Box. 124975                               Keren Zwick (D.D.C. Bar. No. IL0055)
San Diego, CA 92101                          Mark Fleming
(312) 660-1370                               Tania Linares Garcia
sthompson@heartlandalliance.org              NATIONAL IMMIGRANT JUSTICE CENTER
                                             224 S. Michigan Ave., Suite 600
* Admitted pro hac vice                      Chicago, IL 60604
                                             (312) 660-1370
                                             kzwick@heartlandalliance.org
                                             mfleming@heartlandalliance.org
                                             tlinaresgarcia@heartlandalliance.org


                                             Counsel for Plaintiffs




                                         3
